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 1                              UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3 UNITED SPECIALTY INSURANCE                                Case No.: 2:16-cv-02784-APG-EJY
   COMPANY,
 4                                                      Order for Stipulation to Dismiss or Status
        Plaintiff                                                        Report
 5
   v.
 6
   HACHIMAN, LLC, et al.,
 7
        Defendants
 8

 9         On May 28, 2020, the defendants advised the court that they had reached a tentative

10 settlement and expected to finalize the settlement and file dismissal papers within two to three

11 weeks. It has been two months and nothing has been filed.

12         I THEREFORE ORDER that by August 12, 2020, the parties shall file either a stipulation

13 of dismissal or a status report. If a status report is filed it must include specific reasons why the

14 settlement papers have not been executed and what remains to be done. The failure to timely

15 comply with this order will result in denial of all pending motions and dismissal and closure of

16 this case.

17         DATED this 29th day of July, 2020.

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                                                          ANDREW P. GORDON
                                                          UNITED STATES DISTRICT JUDGE
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